    Case 22-51030-JPS            Doc 26      Filed 04/18/23 Entered 04/18/23 10:36:33            Desc Memo
                                                    Page 1 of 1
                                   United States Bankruptcy Court
                                             Middle District of Georgia
Date: 4/18/23
In re:
   Charles Michael Blizzard
   98 Cotswold Dr
   Forsyth, GA 31029−8180
Debtor(s)

Case No. 22−51030−JPS

Chapter 7

Re: Doc11; Trustee's Report of Possible Assets in a Chapter 7 Case filed by Walter W Kelley (Kelley, Walter)
(Entered: 10/18/2022)

Dear Mr. Kelley,

Please let the Court know the status of the case.

Thank you for your attention and assistance in this matter.

Sincerely,

Mary L. Bryan

Deputy Clerk
United States Bankruptcy Court


478−749−6811
